
Walter Florek, Respondent,
againstAdrian King, Doing Business as HORIZON WIRELESS, INC., Appellant. HORIZON WIRELESS, INC., Nonparty-Appellant.



Appeals from a final judgment of the Civil Court of the City of New York, Queens County (Terrence C. O'Connor, J.), entered August 19, 2014, and an order of the same court dated September 23, 2014. The final judgment, after a nonjury trial, awarded landlord possession and arrears of $13,000 as against "King, Adrian D/B/A Horizon Wireless, Inc." in a nonpayment summary proceeding. The order denied the branch of a motion by Adrian King and nonparty Horizon Wireless, Inc. seeking to set aside the final judgment and, in effect, denied as unnecessary so much of the motion as was made by nonparty Horizon Wireless, Inc. seeking to open its default and to allow it to interpose an answer.




ORDERED that so much of the appeal as was taken by nonparty Horizon Wireless, Inc. from the final judgment is dismissed; and it is further,
ORDERED that the final judgment is reversed, without costs, and the matter is remitted to the Civil Court for the entry of a final judgment dismissing the petition; and it is further,
ORDERED that so much of the appeal as is from the portion of the order that denied the branch of the motion seeking to set aside the final judgment is dismissed, in view of the reversal of the final judgment; and it is further,
ORDERED that the order, insofar as reviewed, is affirmed, without costs.
In this commercial nonpayment proceeding, the petition and the notice of petition name the respondent as "Adrian King D/B/A Horizon Wireless Inc." After the Civil Court had granted an unopposed motion by Adrian King to vacate a default final judgment and for leave to interpose an answer, a nonjury trial was held, at which a copy of the lease was introduced into evidence. The lease listed the tenant as "Horizon Wireless Inc." and was signed by Adrian King. Following the trial, the court entered a final judgment awarding landlord possession and arrears of $13,000 as against "King, Adrian D/B/A Horizon Wireless Inc." Thereafter, the court denied the branch of a motion by Adrian King and Horizon Wireless, Inc. seeking to set aside the final judgment and, in effect, denied as unnecessary so much of the motion as was made by Horizon Wireless, Inc. seeking to open its default and allow it to interpose an answer, stating that the corporation's default had already been opened.
A description in a summons or notice of petition of an individual doing business as a [*2]corporation does not confer jurisdiction over the corporation (see Scaccia v Wallin, 99 AD2d 801, 802 [1984]). Thus, Horizon Wireless, Inc. was not a party to this proceeding and its appeal from the final judgment must be dismissed, as it is not aggrieved by the final judgment, which must be deemed to have awarded no relief against it (see CPLR 5511; Nilsen v City of New York, 138 AD2d 581 [1988]). Furthermore, it was landlord's burden to prove at trial that the party that landlord had sued, Adrian King, was the tenant under the lease and that he owed rent "pursuant to the agreement under which the premises are held" (RPAPL 711 [2]; see 329 Union Bldg. Corp. v LoGuidice, 47 Misc 3d 1 [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2015]). Landlord failed to demonstrate that King was a tenant in his individual capacity. The lease which landlord submitted into evidence clearly names only "Horizon Wireless Inc." as tenant. While King apparently affixed his initials to the lease over the word "Tenant," landlord did not present "clear and explicit evidence" (Salzman Sign Co. v Beck, 10 NY2d 63, 67 [1961] [internal quotation marks omitted]; see Weinreb v Stinchfield, 19 AD3d 482, 483 [2005]) tending to demonstrate that this was done to bind King individually, rather than in his capacity as president of the corporation, and landlord presented no other evidence to establish that King was a tenant under the lease. Indeed, the notary's statement on the lease indicates that King signed the lease in his capacity as president of the corporation.
In view of the foregoing, and inasmuch as jurisdiction over Horizon Wireless, Inc., the only tenant named in the lease, was not obtained, this proceeding does not lie (see Kimball Ave. Assoc., LLC v Walsh, 43 Misc 3d 135[A], 2014 NY Slip Op 50660[U] [App Term, 2d Dept, 9th &amp; 10th Jud Dists 2014]).
Accordingly, so much of the appeal as was taken by nonparty Horizon Wireless, Inc. from the final judgment is dismissed; the final judgment is reversed and the matter is remitted to the Civil Court for the entry of a final judgment dismissing the petition; so much of the appeal as is from the portion of the order that denied the branch of the motion seeking to set aside the final judgment is dismissed, in view of the reversal of the final judgment; and the portion of the order which, in effect, denied as unnecessary so much of the motion as was made by nonparty Horizon Wireless, Inc. seeking to open its default and allow it to interpose an answer, on the ground that the corporation's default had already been opened, is affirmed, albeit on the different ground that Horizon Wireless, Inc. was not a party and was not in default.
Pesce, P.J., Weston and Aliotta, JJ., concur.
Decision Date: October 31, 2016










